           Case 2:06-cr-00441-DAD Document 454 Filed 05/18/12 Page 1 of 3


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4    Telephone: (916) 554-2751
5
6
7                      IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )           Case No. CR-S-06-0441 GEB
                                   )
11                  Plaintiff,     )           STIPULATION AND PROPOSED ORDER
                                   )           VACATING TRIAL CONFIRMATION AND
12        v.                       )           TRIAL DATE AND EXCLUDING TIME
                                   )
13   ISAURO JAUREGUI CATALAN,      )
                                   )
14                  Defendant.     )
     ______________________________)
15
16
          Plaintiff, United States of America, by its counsel, Assistant
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     United States Attorney Jill M. Thomas, and defendant Isauro Jauregui
18
     CATALAN, by and through his counsel, Edward C. Bell, Esq., stipulate
19
     and agree that the trial confirmation hearing date of May 18, 2012,
20
     and the trial date of June 5, 2012, at 9:00 a.m. should be vacated.
21
     A status conference has been set for May 25, 2012.         The parties have
22
     stipulated to the preparation of a pre-plea report.          The results of
23
     this report are likely to assist in the resolution of the case.         The
24
     additional time is jointly requested for attorney preparation.
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          Additionally, the parties stipulate that the time remain
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     excluded up to and including the status conference date of May 25,
27
     2012, from the calculation of time under the Speedy Trial Act.
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              Case 2:06-cr-00441-DAD Document 454 Filed 05/18/12 Page 2 of 3


1    The parties submit that the ends of justice are served by the Court
2    excluding such time, so that counsel for each defendant may have
3    reasonable time necessary for effective preparation, taking into
4    account the exercise of due diligence.           18 U.S.C. §
5    3161(h)(8)(B)(iv); Local Code T4.
6
7                                                 Respectfully Submitted,
8                                                 BENJAMIN B. WAGNER
                                                  United States Attorney
9
10
     DATED:     May 18, 2012        By:   /S/Jill M. Thomas
11                                        JILL M. THOMAS
                                          Assistant U.S. Attorney
12
13   DATED:     May 18, 2012        By: /s/ Edward C. Bell
                                    Authorized to sign for Mr. Bell on
14                                  05-16-2012
                                    Attorney for ISAURO JAUREGUI CATALAN
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1                                          ORDER
2         Based upon the representations and stipulation of counsel, IT
3    IS HEREBY ORDERED that:
4         1.      The trial confirmation date of May 18, 2012, at 9:00 a.m.
5    and the trial date of June 5, 2012, are hereby VACATED.             The Court
6    finds that the ends of justice in taking this action outweigh the
7    best interest of the public and the defendant in a speedy trial.
8         2.       Time remain excluded up to and including the status
9    conference date of May 25, 2012, from the calculation of time under
10   the Speedy Trial Act
11   Dated:     May 18, 2012
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13                                      GARLAND E. BURRELL, JR.
14                                      United States District Judge

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